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                                    Document 1
USCA4 Appeal: 07-4115            Doc: 44             Filed: 03/23/2007             Pg: 2 of 2


                                      UNITED STATES COURT OF APPEALS
                                                     FOR THE FOURTH CIRCUIT
                                           Lewis F. Powell, Jr. United States Courthouse Annex
                                                     1100 E. Main Street, Suite 501
                                                    Richmond, Virginia 23219-3517

    Patricia S. Connor                                   www.ca4.uscourts.gov                      Telephone
           Clerk                                                                                 (804) 916-2700




                                                   March 23, 2007

                                           NOTICE OF RULES VIOLATION
                                           *************************


              Alan Dexter Bowman, Esq.
              Suite 105
              Gateway One
              Newark, NJ 07102




                         Re:   07-4062 US v. Lanora N. Ali
                                     8:04-cr-00235-RWT



              Dear Mr. Bowman:

                   You were directed to file a Docketing Statement, and you have
              not done so. You must file your Docketing Statement no later than
              4/9/07. If you do not file the document or otherwise cure the
              default, the clerk will recommend to the Court that you be ordered to
              show cause why discipline should not be imposed for failure to comply
              with federal and local rules of procedure and the Court's
              orders and instructions.




                                                                 Yours truly,

                                                                 PATRICIA S. CONNOR
                                                                       Clerk


                                                                   /s/ Sharon A. Wiley
                                                                 By: ________________________
                                                                      Deputy Clerk
